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IN THE UNITED sTATEs DISTRICT couR'IFH-EB 3`=` '~U-SBM“
FoR THE wEsTERN DISTRICT oF TENNESSEE

 

  

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Plaintiffs,

v. No. 03-2112 Ml/P
LAWRENCE SCOTT, an individual
resident of Cordova,

Shelby qounty, Tennessee,

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Defendant.

 

OPINION AND ORDER FOLLOWING NON-JURY TRIAL

 

The Court held a non-jury trial in this case from Monday,
November l, 2004, through Thursday, November 4, 2004. Plaintiffs
were represented by John J. Heflin, III., Esq. and Kenneth P.
Jones, Esq. Defendant Lawrence Scott was represented by Bobby M.
Leatherman, Jr., Esq.l
I. BACKGROUND AND PROCEDURAL HISTORY

This case arises out of the events whereby Defendant

Lawrence Scott obtained ownership of the Memphis Equipment

Company (“MEC”) following a stock purchase transaction in January

 

1 On October 27, 2004, the Court issued an Order Approving
Resolutions of Board of Directors of Memphis Equipment Company and
Administrative Committee of Memphis Equipment Company Employee Stock
Ownership Plan Relating to Proposed Settlement and Release of Claims
Against Defendant National Bank of Commerce. In addition, on
November, 2, 2004, the Court issued an Order Dismissing With Prejudice
Plaintiffs' Claims Against Defendant National Bank of Commerce.
Accordingly, National Bank of Commerce is no longer a party in this

case.
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of 1999.2 Prior to this transaction, MEC's Employee Stock
Ownership Plan (“MEC ESOP”) held all of the company’s stock. Mr.
Scott was the President of MEC, served on its Board of Directors,
and was a member of the Administrative Committee of the MEC ESOP.

Mr. Scott orchestrated his purchase of MEC by entering into
a series of transactions beginning in June of 1998 without the
knowledge or approval of Plaintiffs Max May and Billy Thompson -
the other two members of the Board of Directors of MEC and the
Administrative Committee of the MEC ESOP. These transactions
included: (l) obtaining a loan from SouthTrust Bank
(“SouthTrust”) to MEC in the amount of $2,300,000.00; (2)
executing a new Trust Agreement governing administration of the
MEC ESOP that included an added provision absent in the former
Trust Agreement giving the National Bank of Commerce (“NBC”), as
Trustee of the MEC ESOP, the sole discretion to sell company
stock without direction or instruction from the Administrative
Committee; (3) executing the stock purchase transaction in
January of 1999 whereby MEC redeemed all but one share of MEC
stock at a price of $7.78 per share and Mr. Scott purchased the
remaining share of company stock at the same price.

The stock purchase transaction was disclosed in the Annual

 

2 For a detailed description of the facts underlying this case,
please see the Order Granting in Part and Denying in Part Plaintiffs’
Motion for Partial Summary Judgment, filed on October 21, 2004,
(Docket No. 288), at 2-7.

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Report for the MEC ESOP filed With the United States Department
of Labor for the year ending August 31, 1999. The transaction,
however, was not disclosed in the Summary Annual Report for the
year ending August 3l, 1999, or in subsequent summary annual
reports. The Summary Annual Reports were prepared by Mr. Scott
and the NBC trust department and were given to the MEC ESOP
participants.

Mr. May and Mr. Thompson began to suspect that there was a
sale involving company stock held in the ESOP in either October
or November of 2002. In response to an inquiry from Mr. Thompson
concerning the status of the company's ownership, Mr. Scott
denied that there was any change in ownership. Sometime after
Mr. Thompson's inquiry, however, Mr. Scott informed Mr. Thompson
that he had lied and that he had in fact purchased the company.

On February 24, 2003, Plaintiffs brought suit alleging that
Mr. Scott improperly acted without the approval of MEC’s Board of
Directors, breached his fiduciary duties as a director and
officer of the company, and wrongfully converted company funds in
violation of Tennessee law. Plaintiffs also alleged that Mr.
Scott engaged in a prohibited transaction, breached his fiduciary
duties, and failed to properly disclose information regarding the
MEC ESOP in violation of the Employee Retirement Income Security
Act (“ERISA”), 29 U.S.C. § 1001 et seq.

On October 21, 2004, the Court issued its Order Granting in

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Part and Denying in Part Plaintiffs' Motion for Partial Summary
Judgment.3 In that order, the Court granted Plaintiffs’ Motion
for Partial Summary Judgment as to Mr. Scott’s liability under §§
48-22-101(a)(2), 48-18-202(a), 48-18~301 and 48-18-302 of the
Tennessee Code for acting without approval of MEC’s Board of
Directors and breaching his fiduciary duties to the company. The
Court similarly granted summary judgment as to Mr. Scott's
liability under ERISA for failure to disclose the January 1999
stock purchase transaction in violation of 29 U.S.C. §§
1024(b)(3), llOd, and 1109. Summary judgment was denied,
however, as to Mr. Scott's liability for converting MEC funds in
violation of Tennessee law. In addition, summary judgment was
denied as to Mr. Scott’s liability under ERISA for engaging in a
prohibited transaction and failing to disclose the stock purchase
transaction in violation of 29 U.S.C. §§ 1106, 1023(b),
1024(b)(l), 1104, and 1109.

On November l, 2004, the Court issued an Order Rescinding
Transaction Ab Initio. Under that order, the Court rescinded, ab
initio, the following transactions: (l) the $2,300,000.00 loan
obtained from SouthTrust; (2) the personal guarantee given by Mr.

Scott to SouthTrust to secure the SouthTrust loan;(3) the

 

3 On the same date, the Court issued an Order Granting
Plaintiffs' Motion for Summary Judgtment as to Counterclaim of Lawrence
Scott (Docket No. 289} and an Order Denying Defendant Scott's Motion
for Partial Summary Judgment as Moot. (Docket No. 290,)

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execution of the new Trust Agreement governing the administration
of the MEC ESOP; (4) the transfer by NBC, as trustee of the MEC
ESOP, of all but one share of MEC stock to MEC; (5) the
redemption by MEC of all shares transferred to it by NBC; and (6)
the transfer by NBC of the remaining share of MEC stock to Mr.
Scott for $7.78.

II. FINDINGS OF FACT

Based on the proof presented during the non-jury trial held
from November l, 2004, through November 4, 2004, the Court makes
the following findings of fact on the issues now before the
Court.

MEC buys, rebuilds, and sells military trucks and parts.

The company maintains its principal office in Memphis, Tennessee,
and has a branch office in Chambersburg, Pennsylvania. MEC is
organized into three departments: (l) the Shop/Service
Department, headed by Mr. Thompson; (2) the Parts Department,
headed by Mr. May; and (3) the Accounting Department, headed by
Mr. Scott. (Trial Transcript (“Tr.”) at 127-29, 209.)

During the bench trial, Plaintiffs demonstrated that Mr.
Scott used corporate funds for his personal benefit without the
knowledge or approval of MEC’s Board of Directors. Plaintiffs
divided their proof concerning Mr. Scott's diversion of corporate
assets into the following categories: (l) Mr. Scott's personal

account balance as of March of 2003; (2) expenses related to the

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January 1999 stock purchase transaction; (3) MEC checks used to
pay Mr. Scott's personal expenses; (4) personal charges made by
Mr. Scott to the MEC credit card; (5) personal expenses
reimbursed to Mr. Scott from petty cash; (6) purchase of a Honda
4-wheeler; (7) purchase of a 1999 Toyota Camry for Mr. Scott's
former wife, Ms. Jolynne Scott; (8) payment of health insurance
premiums for Mr. Scott's daughter, Ms. Tara Scott; (9) wire
transfers made to Mr. Scott’s daughters; (lO) payment of
automobile insurance premiums for the vehicle of Ms. Michelle
Scott, Mr. Scott’s daughter; and (ll) attorney's fees paid to Mr.
Scott's counsel in the instant litigation. The Court will
discuss each of these categories in turn.

A. Mr. Scott's Personal Account Balance as of March of
2003

Mr. Scott maintained a personal account whereby he made
entries on personal ledger cards listing amounts he owed to MEC.
(Tr. at 328; Trial Ex. 438.) These entries were made by either
Mr. Scott or Ms. Jolynne Scott. (Tr. at 330.) The personal
ledger cards reflect that at the beginning of September of 2001,
Mr. Scott maintained a balance forward of $5,298.17. (Tr. at
329; Trial Ex. 438.) Mr. Scott, however, was unable to produce
any record demonstrating the source of the $5,298.17 balance at
trial. (Tr. at 329-30.) In addition, he was unable to produce
personal ledger cards listing amounts he owed to MEC for dates

preceding September of 2001. (Tr. at 329-30, 381-83.) During

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the trial, Mr. Scott admitted that the balance from the personal
ledger cards was $201,075.07, which represented the amount he
owed to the company. (Tr. at 326~28.)

B. Expenses Related to the Stock Purchase Transaction

At trial, Mr. Scott admitted that he used MEC funds to pay
for several expenses related to the January 1999 stock purchase
transaction. These expenses were incurred when Mr. Scott
obtained a $2.3 million loan and $500,000.00 line of credit from
SouthTrust in order to execute the stock purchase transaction.4
(Tr. at 343, 355.) The expenses totaled $63,120.05.5 (Trial
Exs. 414, 439.) Although Mr. Scott denied that he owed this
amount, he admitted that MEC would not have incurred the above
expenses had he not entered into the stock purchase transaction.
(Tr. at 355.)

C. MEC Checks Used to Pay Mr. Scott's Personal Expenses

Plaintiffs showed at trial that Mr. Scott paid for
$68,426.05 in personal expenses with MEC checks. (Trial Exs.
414, 439.) Mr. Scott testified that many of these expenses were

either business expenses or were charged to his personal account.

 

4 Mr. Scott admitted that MEC never drew upon the $500,000.00
line of credit. (Tr. at 343, 355.)

5 Plaintiffs originally claimed that the expenses related to the
stock purchase transaction totaled $73,120.05. (Trial Ex. 414.)
However, during the trial, Plaintiffs credited Mr. Scott with
$10,000.00 in valid expenses and reduced this total to $63,120.05.
(Tr. at 350~51; Trial Ex. 439.)

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With respect to the charges that Mr. Scott claimed were business
expenses, however, he testified that he did not know the business
purpose for those expenses. As to expenses that Mr. Scott
claimed appeared on his personal account, Mr. Scott was unable to
provide records demonstrating that any such expenses appeared on
that account, with the exception of expenses that Plaintiffs
credited to Mr. Scott.6

The largest expense for which an MEC check was written was
in connection with the purchase of a lot in Pennsylvania for Ms.
Theresa Robinson, an MEC employee and personal friend of Mr.
Scott. (Tr. at 371; Trial Ex. 414.) The check was written in
the amount of $45,600.00. (Tr. at 371; Trial Ex. 414.) Mr.
Scott testified that although MEC wrote a check in the above sum,
the source of the $45,600.00 was a CD that he cashed in for his
mother, which was later deposited into MEC’s bank account with
the National Bank of Commerce. (Tr. at 371-72, 525.) Mr. Scott
further testified that these funds were then wire transferred to
MEC's account with F&M Trust Bank in Pennsylvania. (Tr. at 373~
74, 525.) The record shows that $45,600.00 was deposited into

MEC's NBC account on March 12, 2001, that on the next day there

 

6 Plaintiffs originally claimed that Mr. Scott used MEC checks to
fund personal expenses in the amount of $84,684.34. (Trial Ex. 414.)
During the trial, however, Plaintiffs credited the following expenses
which appeared on Mr. Scott's personal account ledger cards:
$7,008.29, $4,000,00, $3,500.00, $1,000.00, and $750.00. (Trial Ex.
439.) Plaintiffs’ revised claim, therefore, totaled $68,426.05.
(Trial Exs. 414, 439.)

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was an outgoing wire from NBC in the same amount, and that on
March l4, 2001, there was an incoming wire of $45,600.00 into
MEC’s bank account with F&M Trust Bank in Pennsylvania. (Trial
Exs. 440, 23.} However, Mr. Scott did not produce a record
showing the source of the 545,600.00 deposit into MEC's NBC bank
account.7 (Tr. at 374-75.)

D. Personal Charges Made by Mr. Scott to MEC Credit Card

MEC had a single corporate credit card that was held
by Mr. Scott. (Tr. at 393-94.) The charges made on that account
were either made by Mr. Scott or by others with his
authorization. (Tr. at 394.) Mr. Scott admitted that MEC always
paid the bill for that account. (Tr. at 394-95.) Mr. Scott
further testified that the credit card account was addressed to
his own personal post office box and that he was the only person
who had access to that post office box. (Tr. at 395.)

The testimony offered at trial demonstrated that Mr. Scott
charged thousands of dollars worth of personal expenses to the
MEC credit card. These charges included expenses on personal
items, travel, lodging, and meals. During trial, Plaintiffs

divided their presentation regarding Mr. Scott’s use of the MEC

 

7 Mr. Scott also testified that certain other expenses funded
with MEC checks and related to Ms. Robinson's home were included in an
August 2002 entry on his personal account of $7,769.32. (Tr. at 532-
33.) Mr. Scott testified that these expenses were checks written for
$5,000.00, $1,000.00, $744.00, and $299.24 and also an unidentified
amount of $1,470.08. (Id.) Mr. Scott did not provide evidence
concerning the source of the Sl,470.08 figure. (Id.)

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credit card into three categories: (l) personal charges made by
Mr. Scott excluding travel charges; (2) personal travel charges;
and (3) charges for personal meals. The Court will discuss its
findings regarding these three categories in turn.

1. Personal Charges Made by Mr. Scott Excluding
Travel Charges

Plaintiffs demonstrated that Mr. Scott charged $162,883.71
in personal expenses, excluding travel and personal meal charges,
to MEC's corporate credit card between December of 1997 and
December of 2002.8 (§ee Trial Exs. 414, 439.) Of this amount,
Mr. Scott testified that $68,137.99 related to business expenses.
(§ee Trial Exs. 414, 439.) During the trial, when Mr. Scott was
questioned about these charges, he was unable to recall whether
they were, in fact, business expenses. (Tr. at 414-66.) Even
when he stated a business purpose for a specific expense, Mr.
Scott did not provide any records, such as an MEC expense
reimbursement form, to demonstrate that the expenses were related

to MEC business.9 Mr. Scott admitted during trial that the

 

5 Plaintiffs originally alleged that Mr. Scott charged personal
expenses totaling $166,474.70 to the company credit card. (Trial Ex.
414.) During trial, however, Plaintiffs credited expenses totaling
$3,590.99 to the original total to arrive at a revised total of
$162,883.71. (Trial Exs. 414, 439.)

9 Some of the largest charges to the company credit card that Mr.
Scott claimed were business expenses concerned charges from the
University of Memphis Athletic Department. The parties stipulated
that the contributions and other expenses associated with the
University of Memphis Athletic Department were all made in the name of
Mr. Scott. (Tr. at 122.) Mr. Scott admitted that none of the charges

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remaining charges of $94,745.72 were for personal expenses.
Although Mr. Scott testified that he repaid some of the credit
card charges for personal expenses in cash, he did not provide
any records showing reimbursement. (Tr. at 466-67.)
2. Personal Travel Charges

The majority of travel expenses charged to the MEC credit
card involved Mr. Scott's travel to Pennsylvania. Mr. Scott
testified that he was required to travel frequently to
Pennsylvania to fix a computer problem involving the transfer of
data between MEC's Chambersburg and Memphis offices. (Tr. at
473-74.) No other witness, however, supported Mr. Scott’s
testimony concerning his need to travel frequently to
Pennsylvania to fix such a problem. Mr. Glenn Alleman, the
branch manager of the MEC Chambersburg office, testified that
since 1995, he had only seen Mr. Scott come to the Chambersburg

office to work approximately five times. (Tr. at 182.) Mr.

 

(... continued)

from the University of Memphis Athletic Department were approved by
the MEC Board of Directors and that MEC did not derive any benefit
from the contributions made to the University of Memphis Athletic

Department. (Tr. at 415-17.) Rather, Mr. Scott testified that he
felt he owed it to the University to make those contributions. (Tr.
at 416.)

In addition, Mr. Scott testified during trial that he made
contributions to the Capitol Theatre in Chambersburg, Pennsylvania,
and WKNO TV FM and the Orpheum Theatre in Memphis, Tennessee. Mr.
Scott, however, was unable to recall whether those contributions were
made in MEC’s name and admitted that he made them without the
knowledge Or approval of the MEC Board of Directors. (Tr. at 446-47,
449, 454-55.)

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Alleman, Mr. Thompsonr and Mr. May all testified that they knew
of no business reason that would have required Mr. Scott to make
frequent trips to Pennsylvania over the weekends. (Tr. at 146,
188-89, 221.)

Mr. Scott testified that he had a close friendship with an
employee at the Chambersburg office, Ms. Theresa Robinson. (Tr.
at 474-75.) Although Mr. Scott denied he usually stayed with Ms.
Robinson when traveling to Chambersburg, he testified that he
used company funds to assist the construction and furnishing of
her home and stayed with her in that home on many occasions once
it was constructed. (Tr. at 474-75.) Mr. Scott also admitted
that, with respect to almost all of his trips to Pennsylvania, he
did not complete an MEC expense reimbursement form used by
employees seeking reimbursement for business expenses, including
travel. (Tr. at 475-76.)

Mr. Scott also testified that travel charges unrelated to
his Pennsylvania travel were legitimate business expenses.10
With the exception of business expenses credited by Plaintiffs
during trial, however, Mr. Scott was unable to provide evidence
of a business purpose for his travel expenses outside of

Pennsylvania. Plaintiffs demonstrated during trial that Mr.

 

w Mr. Scott also disputed that a charge involving a stay at the
Four Seasons Hotel in Philadelphia, Pennsylvania, on March 20, 2000,
was a purely personal charge. (Tr. at 483-84 ) Mr. Scott
testified that there was a business component to that trip because he
met with an attorneyr but he provided no evidence to support this
assertion. (Id.)

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Scott charged $70,252.19 to the MEC credit card for personal

travel expenses.n
3. Charges for Personal Meals

Mr. Scott charged many personal meals to the MEC credit
card. These charges totaled $8,543.14. (Trial Ex. 414.)
Although Mr. Scott testified that many of these meals were
legitimate business expenses because they were charged pursuant
to an MEC policy permitting employees to charge meals to the
company if they worked after either 6 or 7 p.m., his assertions

were contradicted by evidence presented at trial.12 (Tr. at 492h

 

02.)

E. Personal Expenses Reimbursed to Mr. Scott from Petty

Cash

Plaintiffs demonstrated that Mr. Scott reimbursed himself
$1,844.78 for personal expenses out of MEC's petty cash. (Trial
Ex. 414.) Although Mr. Scott testified that reimbursements from

n Plaintiffs originally alleged that Mr. Scott charged personal
expenses totaling $70,818.76 to the company credit card. (Trial Ex.
414.) During trial, however, Plaintiffs credited $566.57 from the
original total to arrive at a revised total of $70,252.19. (Trial

Exs. 414, 439.)

n Mr. Scott testified that $46,758.94 of the total amount he
admitted were personal expenses charged to MEC's
credit card represents a portion of an August 2002 entry of $56,215.31
in his personal ledger cards and therefore was an amount already
included in his personal account. (Tr. at 522-25.) However, in
making the above calculation, Mr. Scott included charges that he
claimed were business, rather than personal expenses and included

credit card charges from September through December of 2002. (Tr. at
563-67; Tr. Ex. 441.) Mr. Scott further testified that the August
2002 personal ledger account entry was made in August of 2002. (Tr.
at 566~67.)

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petty cash for personal meals were made pursuant to the working
late policy described above, his assertion was contradicted by
the evidence presented at trial. With respect to the remainder
of the expenses reimbursed from petty cash, Mr. Scott did not
provide any evidence showing the business purpose for those
expenses.

F. Purchase of Honda 4-whee1er

On December 18, 1997, Mr. Scott purchased a 1998 Honda
TRX300FWW 4-wheeler with company funds for $5,981.40. (Tr. at
287; Trial Ex. 87.) This vehicle was purchased for Mr. Scott’s
own personal use and was delivered to Mr. Scott at his mother's
home. (Tr. at 287, 290.) Although Mr. Scott testified that he
believed he had reimbursed the company for this expense, he
admitted that he possesses no records demonstrating any such
reimbursement. (Tr. at 287-90.)

G. Purchase of 1999 Toyota Camry for Ms. Jolynne Scott

On August 18, 1999, Mr. Scott purchased a 1999 Toyota Camry
for his former wife, Ms. Jolynne Scott, with company funds for
$18,342.00. (Tr. at 103-04, 290-92; Trial Ex. 13.) Mr. Scott
admitted that he had the vehicle titled in Ms. Scott’s name, that
the vehicle was never reported as income to Ms. Scott, and that
Ms. Scott never personally paid for the vehicle. (Tr. at 291.)
Ms. Scott testified that she has never paid tax in connection

with the vehicle and never reimbursed MEC for the purchase. (Tr.

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at 104, 106.)

Mr. Thompson testified that although he became aware that
the Camry was purchased with company funds, Mr. Scott informed
him that the vehicle was purchased through the company to save
certain dock fees and that Ms. Scott had arranged for financing
with a bank. (Tr. at 145.) Mr. Thompson further testified that
Mr. Scott indicated that Ms. Scott was paying for the vehicle.
(Id.) Mr. May testified that he was also aware of the purchase,
as he saw a copy of the vehicle invoice that was faxed to the
company from the dealership. (Tr. at 219.) After Mr. May showed
Mr. Scott the invoice, Mr. Scott similarly informed him that the
company purchased the vehicle to save Ms. Scott money and that he
was making arrangements with her to obtain a loan. In addition,
Mr. May testified that Mr. Scott indicated that Ms. Scott would
pay for the vehicle.13 (Tr. at 220.)

H. Payment of Health Insurance Premiums for Ms. Tara Scott

Mr. Scott admitted that his daughter, Ms. Tara Scott,
was covered by the company’s health insurance between February of
2001 and November of 2002. (Tr. at 294-96.) Ms. Scott was not

an employee of the company. (Tr. at 296.) Between February of

 

m Mr. May further testified that after this conversation with Mr.
Scott, he ran the number appearing on the license plate of the Camry

to make sure that the vehicle was registered to Ms. Scott. (Tr. at
220.) After learning that the vehicle was registered to Ms. Scott,
Mr. May did not conduct any further investigation. (Tr. at 221.) Mr.

May testified that after he saw that the vehicle was registered to Ms.
Scott, he “thought she had got a loan and the car was in her name and
everything was kosher.” (Id.)

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2001 and February of 2002, the cost of Ms. Scott’s premium was
$201.44 per month. (Tr. at 295-97.) From February of 2002 until
November of 2002, the cost of the premium rose to $226.53 per
month. (Id.) Mr. Scott admitted that the company made the
premium payments on Ms. Scott’s health insurance for all but one
month during her period of coverage, that he never reimbursed the
company for those payments, and that he accordingly owed the
company $4,456.05 for those payments.“ (Tr. at 296-99; Trial
Exs. 414, 439.)

I. Wire Transfers Made to Mr. Scott’s Daughters

Mr. Scott admitted at trial that he made wire transfers of
corporate funds to his daughters generally in the amount of
$500.00. (Tr. at 299-300.) Mr. Scott was unable to recall how
many wire transfers he made to his daughters, but he testified
that they were not made every month. (Tr. at 300.) Although Mr.
Scott testified that he believed that all of the $500 wire
transfers were from his personal account, he admitted he had no
records to support this assertion. (Tr. at 301.)

J. Automobile Insurance Premiums for Ms. Michelle Scott's
vehicle.

 

M Plaintiffs originally alleged that Mr. Scott owed $4,682.58 for

the premium payments made by the company. (Trial Ex. 414.) At trial,
however, Mr. Scott testified that he made a premium payment in
November of 2002 for $226.53. (Tr. at 298-99.) Plaintiffs
accordingly credited this payment and deducted $226.53 from the
$4,682.58 originally claimed for a revised total of $4,456.05. (Tr.

at 299; Trial Exs. 414, 439.)

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Mr. Scott admitted that a Mazda Protege automobile
belonging to his daughter, Ms. Michelle Scott, was covered by the
company’s automobile insurance for a period of three years. (Tr.
at 323-24.) MEC's automobile insurance records did not, however,
display the cost of coverage on Ms. Scott's Mazda Protege for
this period. (Tr. at 301-02, 324.) Mr. Scott admitted that he
has not produced any record demonstrating that MEC was reimbursed
for any cost associated with the coverage on Ms. Scott's vehicle.
(Tr. at 324-25.)

K. Attorney's Fees From the Instant Litigation Paid to Mr.
Scott's Attorney

The parties stipulated, and Mr. Scott also admitted during
trial, that he used MEC funds to pay his attorney's fees incurred
in the instant litigation. (Tr. at 303-04, 325). The amount of
attorney’s fees totaled $21,500.00. (Tr. at 303-04; Trial Ex.
414.) Mr. Scott testified that those fees did not appear on his
personal account, that he believed he was entitled to pay those
fees, and that he did not reimburse those fees to the company.
(Tr. at 325.)

III. ANALYSIS
Plaintiffs contend that Mr. Scott is liable for the wrongful

conversion of MEC funds for his own personal use.15 Plaintiffs

 

H Alternatively, Plaintiffs contend that Mr. Scott is liable for
unjust enrichment and restitution as a result of his conduct in the
instant case.

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also assert that Mr. Scott is personally liable under ERISA to
restore to the MEC ESOP any losses stemming from his breach of
fiduciary duty as well as any profits he made though his use of
ESOP assets. Also pursuant to ERISA, Plaintiffs seek equitable
or remedial relief against Mr. Scott due to his breach of
fiduciary duty. Specifically, Plaintiffs request that Mr.
Scott's interest in the MEC ESOP be forfeited and that the Court
enter certain injunctive relief. ln addition, Plaintiffs contend
that they are entitled to attorney's fees and costs under
Tennessee law and/or ERISA. The Court will consider Plaintiffs'
contentions in turn.

A. Conversion

Plaintiffs brought their conversion claim as a shareholder
derivative action.16 As an initial matter, the Court addresses
Mr. Scott's contention that Plaintiffs are time-barred from
asserting their conversion claim. In particular, Mr. Scott
contends that Plaintiffs knew or should have known about the

stock purchase transaction, the charges made to the company

 

w Mr. Scott contends that the non-director Plaintiffs are
precluded from bringing a shareholder derivative action because they
lack standing. In particular, he contends that the non-director
Plaintiffs did not make a demand upon Mr. May and Mr. Thompson, both
of whom were members of the Board of Directors. The Court, however,
finds this argument unpersuasive because any such demand would have
been futile. See Lewis ex rel. Citizens Savinqs Bank & Trust Co. v.
Boyd, 838 S.W.2d 215, 221 (Tenn. Ct. App. 1992) (stating Tennessee
courts have excused demand requirement if making such demand “would be
an ‘idle ceremony' ... and when the corporation’s officers and
directors will themselves be defendants”).

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credit card, and the charges associated with the purchase of the
1999 Toyota Camry for Ms. Jolynne Scott more than one year before
they filed this lawsuit.17 The Court finds this argument
unpersuasive, however, given Mr. Scott’s fraudulent concealment18
of the above transactions.19 See Pero's Steak and Spaghetti

House v. Lee, 90 S.W.3d 614, 625 (Tenn. 2002).

 

“A conversion ... is the appropriation of [a] thing to the
party’s own use and benefit, by the exercise of dominion over it,
in defiance of plaintiff’s right.” Barger v. Webb, 391 S.W.2d
664, 665 (Tenn. 1965). In order to be liable for conversion, a
defendant “need only have an intent to exercise dominion and

control over the property that is in fact inconsistent with the

 

w The statute of limitations for wrongful conversion, however, is

three years. See Tenn. Code Ann. §§ 28~3-105, 47-3~118(g).
w The elements of an actionable fraudulent concealment claim are:

(1) that the defendant took affirmative action to conceal
the cause of action or remained silent and failed to
disclose material facts despite a duty to do so; (2) that
the plaintiff could not have discovered the cause of action
despite exercising reasonable care and diligence; (3) that
the defendant had knowledge of the facts giving rise to the
cause of action; and (4) that the defendant concealed
material facts from the plaintiff by withholding information
or making use of some device to mislead the plaintiff, or by
failing to disclose information when he or she had a duty to
do so.

Pero’s Steak and Spaqhetti House v. Lee, 90 S.W.3d 614, 625 (Tenn.
2002} (citing Shadrick v. Coker, 963 S.W.Bd 726, 735-36 (Tenn.l998)).

 

U Mr. Scott also claims that Plaintiffs have unclean hands and

are thus precluded from asserting their conversion claim. The Court,
however, finds that the evidence presented at trial and the record in
this case do not support Mr. Scott's contention.

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plaintiff's rights, and do so; good faith is generally
immaterial.” Mammoth Cave Production Credit Ass’n v. Oldham, 569
S.W.Zd 833, 836 (Tenn. Ct. App. 1977).

Courts closely scrutinize a corporation's transactions with
an officer or director, and the burden of proving that such
transactions were entered into in good faith is placed upon that
officer or director.20 Intertherm, Inc. v. Olvmpic Home Svs.,

lnc., 569 S.W.2d 467, 471 (Tenn Ct. App. 1978). The burden of

 

proof is so allocated due to the director or officer's position
as a fiduciary. ldi (“As a fiduciary, the officer or director
has a strong influence on how the corporation conducts its
affairs, and a correspondingly strong duty not to conduct those
affairs to the unfair detriment of others ... who also have
legitimate interests in the corporation but lack the power of the
fiduciary.”).

The proof offered at trial demonstrated that Mr. Scott
repeatedly converted MEC assets to fund his personal expenses
without the knowledge or approval of MEC's Board of Directors.
Mr. Scott wrote company checks, charged the company credit card,
and reimbursed himself from the company’s petty cash to fund
personal expenses for himself, members of his family, and Ms.
Theresa Robinson. ln particular, Mr. Scott caused the company to

fund expenses associated with: the preparation and execution of

 

N See infra fn. 26.

 

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the January 1999 stock purchase transactionn; a Honda 4-wheeler;
a 1999 Toyota Camry for his former wife, Ms. Jolynne Scott;
health insurance coverage for his daughterr Ms. Tara Scott;
automobile insurance coverage for a vehicle belonging to his
daughter, Ms. Michelle Scott; wire transfers made to both of his
daughters; and fees paid to his attorney in the instant
litigation.

Although Mr. Scott claimed that many expenses he caused MEC

to incur were legitimate business expenses.22 with the exception

 

m Mr. Scott contends that he should not be liable to the company
for the charges associated with the stock purchase transaction because
Plaintiffs have benefitted from the recission of that transaction.
Specifically, he argues thatr as a result of the recission, the
company will retain $400,000.00, since it will receive $2.3 million
from the Trustee and will then pay back the $1.9 million balance
remaining on the loan it obtained from SouthTrust. According to Mr.
Scott, this $400,000.00 amount should offset the transaction costs he
caused the company to incur. However, the $400,000.00 is not a
benefit retained by MEC. Instead, that amount, along with the $1.9
million loan balance, equals the amount of the original $2.3 million
loan Mr. Scott caused MEC to obtain from SouthTrust to facilitate the
stock purchase transaction. Accordingly, the Court finds Mr. Scott's
contention unpersuasive.

m Mr. Scott specifically contends that credit card charges for
contributions to the University of Memphis Athletic Department and
other entities such as the Orpheum Theatre were legitimate business
expenses. With respect to the contributions to the University of
Memphis Athletic Department. all such contributions were made in Mr.
Scott's name, none of the charges for those contributions was approved
by the company’s Board of Directors, and the company derived no

benefit from the contributions. (See supra section II.D.l, n.9.}
lnstead, Mr. Scott testified that he believed he owed it to the
university to make such contributions. (Id.) As to other

contributions made to entities such as the Orpheum Theatre, Mr. Scott
could not recall whether those contributions were made in MEC's name
and admitted that they were made without the knowledge or approval of
the company’s Board of Directors. Accordingly, the Court finds Mr.
Scott's contention unpersuasive.
The Court similarly finds unpersuasive Mr. Scott's contention
(continued...)

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of amounts Plaintiffs credited during the trial, he was unable to
prove the business purpose of those expenses.23 Mr. Scott also
claimed that many other expenses incurred by the company either
appeared on his personal account24 or were repaid to the company

in cash.25 However, apart from the amounts Plaintiffs credited

 

(continued...)

that his travel expenses to Pennsylvania were legitimate business
expenses related to addressing a computer problem involving the
transfer of data between MEC's Chambersburg and Memphis offices. No
other witness during trial offered testimony lending support to Mr.
Scott’s contention. (§§§ Sugra Section II D 2.) Moreover, Mr. Glenn
Alleman, the branch manager of the MEC Chambersburg office, only saw
Mr. Scott come to the Chambersburg office and work approximately five
times since 1995. Mr. Alleman, Mr. Thompson, and Mr. May testified
that they knew of no business reason requiring Mr. Scott to make
frequent trips to Pennsylvania over the weekends. (Id.) In addition,
Mr. Scott had a close friendship with Ms. Theresa Robinson, an
employee at the Chambersburg office, used company funds to help
construct and furnish her home, and stayed with her in that home on
many occasions after it was built. (Id.)

N ln particular, Mr. Scott was unable to either recall a specific
expense’s business purpose or provide records demonstrating that an
expense was business*related.

M For instance, Mr. Scott contends that $46,758.94 of the total
amount he admits were personal expenses charged to MEC's credit card
represents a portion of an August 2002 entry of $56,215.31 in his
personal ledger cards. Therefore, he argues that amount is already
included in his personal account and should not be charged to him.
This argument is without merit, however, as the Court previously noted
that in making the above calculation, Mr. Scott included charges he
claimed were business, rather than personal expenses and included
credit card charges from September through December of 2002. (§§§
supra Section II.D.B, n.12.)

The Court similarly finds unpersuasive Mr. Scott's argument that
expenses funded with MEC checks and relating to Ms. Robinson's home
were included in an August 2002 entry on his personal account of
$7,769.32, as Mr. Scott could not provide the source of a $1,470.08
figure he contended comprised the $7,769.32 entry in his personal
account. (§§§ Supra Section II.C., n.7.)

25 Mr. Scott also contends that although an MEC check was written
for $45,600.00 to purchase land in Pennsylvania for Ms. Theresa
(continued...)

22

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at trial, Mr. Scott did not produce any records supporting his
testimony.

Having found that Mr. Scott is liable for unlawful
conversion, the Court next determines the amount of damages to
award Plaintiffs. Plaintiffs first seek to recover the amount of
funds that Mr. Scott diverted from MEC for his own personal use.
Mr. Scott admitted during trial that he owed MEC $201,075.07, the
balance reflected on his personal account. ln addition,
Plaintiffs proved that Mr. Scott diverted the following MEC funds
for his own personal use: (1) $63,120.05 in preparing and
executing the January 1999 stock purchase transaction; (2)
$68,426.05 by writing numerous MEC checks; (3) $241,679.04 by
charging the company credit card; (4) $1,844.78 by reimbursing
himself from the company's petty cash; (5) $5,981.40 by
purchasing a Honda 4-wheeler; (6) $18,342.00 by purchasing a 1999
Toyota Camry for his former wife, Ms. Jolynne Scott; and (7)
$4,456.05 by placing his daughter, Ms. Tara Scott, on the
company's health insurance. As discussed above, apart from the

amounts Plaintiffs credited during the trial, Mr. Scott did not

 

(continued...)

Robinson, the source of the S45,600.00 was a CD that he cashed in for
his mother, which was later deposited into MEC’s bank account with the
National Bank of Commerce, and therefore that amount should not be
charged against him. As the Court noted previously, however, Mr.
Scott did not produce a record showing the source of the $45,600.00
deposit into MEC's NBC bank account. (§§§ Supra Section II.C.)
Accordingly, the Court finds this contention unpersuasive.

23

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demonstrate that he had a legitimate business purpose, made
entries on his personal account, or otherwise reimbursed MEC for
these expenditures.26 Therefore, the Court finds that Plaintiffs
are entitled to recover from Mr. Scott $604,924.44, the sum of
the above amounts.

Mr. Scott also admitted that he used company funds to insure
his daughter's Mazda Protege on the company's automobile
insurance policy for three years and that he has not reimbursed
the company for such coverage. MEC's records concerning its
automobile insurance did not reflect the cost of covering Ms.
Scott's vehicle during the three-year period. Plaintiffs contend
that $1,000.00 is a conservative estimate of the cost for Ms.
Scott’s automobile insurance premium. The Court agrees, and
therefore finds that Plaintiffs are entitled to recover $1,000.00
for the costs of such coverage.

Mr. Scott admitted that he wired company funds-_typically in
the amount of $500_-to both of his daughters. However, Mr. Scott
could not recall the number of wire transfers he made. ln
addition, although Mr. Scott testified that he believed that all
of the $500 wire transfers were on his personal account, he

admitted he had no records to support his testimony. Because Mr.

 

% Even if the burden of proof regarding Defendant's lack of good
faith when engaging in corporate transactions rested squarely on
Plaintiffs, they have more than satisfied that burden in this case.
The credible evidence supporting Plaintiffs' claims is overwhelming;
moreover, much of the critical evidence in the case was either
admitted by Mr. Scott or not controverted by any credible evidence.

24

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Scott admitted that he made at least one wire transfer of
$500.00, the Court finds that Plaintiffs are entitled to recover
$500.00 for the transfer of company funds.

ln addition, the parties stipulated and Mr. Scott admitted
that he used MEC funds to pay $21,500.00 in fees to his attorney
in the instant litigation. Although Mr. Scott admits that he has
not reimbursed the company for those fees, he contends that as
the sole shareholder and President of the company, he and MEC had
an interest in defending the instant lawsuit. The instant
lawsuit, however, would not have occurred but for Mr. Scott's
breaches of fiduciary duty in orchestrating the January 1999
stock purchase transaction. Accordingly, the Court finds that
Plaintiffs are entitled to recover the $21,500.00 in fees Mr.
Scott paid to his attorney during the instant litigation.

As set forth above, the Court finds that Mr. Scott is liable
for wrongfully converting MEC funds for his own personal use.27
The Court also finds that Plaintiffs are entitled to $627,924.44
in damages as a result of Mr. Scott's unlawful conversion. The
following table lists the individual amounts that comprise the

$627,924.44 award:

 

21 Accordingly, the Court need not address Plaintiffs’ claims for
unjust enrichment and restitution.

25

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Category of Expense Amount of Diverted MEC Funds
Personal Account Balance $201,075.07
January 1999 Stock Purchase $63,120.05
Transaction Expenses
MEC Checks $68,426.05
MEC Credit Card Charges $241,679.04

 

MEC Petty Cash Reimbursements $1,844.78

 

Purchase of Honda 4-Whee1er $5,981.40

 

Purchase of 1999 Toyota Camry $18,342.00
for Ms. Jolynne Scott

 

Health Insurance Coverage for $4,456.05
Ms. Tara Scott

 

Automobile Insurance Coverage $1,000.00
for Ms. Michelle Scott

 

Wire Transfers to Daughters $500.00

 

Attorney's Fees Paid Defending $21,500.00
Instant Litigation

 

TOTAL $627,924.44

 

 

 

 

B. ERISA

ln the October 21r 2004, Order Granting in Part and Denying
in Part Plaintiffs’ Motion for Partial Summary Judgment, the
Court found that Mr. Scott was liable under 29 U.S.C. §§
1024(b)(3), 1104, and 1109 for failing to disclose the January
1999 stock purchase transaction to the MEC ESOP participants in
derogation of his fiduciary duties. ln particular, the Court
found that the Summary Annual Reports provided to MEC ESOP
participants for the fiscal year ending August 31, 1999, as well

as subsequent Reports, did not disclose the stock purchase

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transaction. Plaintiffs therefore contend that pursuant to 29
U.S.C. § 1109, Mr. Scott is personally liable for any losses to
the ESOP resulting from his breach of fiduciary duty and any

profits he made through his use of ESOP assets. _§§ 29 U.S.C. §
1109(a).28 Plaintiffs also contend that pursuant to § 1109, Mr.
Scott is subject to “such other equitable or remedial relief as
the court may deem appropriate.” ldy The Court will address

these contentions in turn.

1. Mr. Scott's Personal Liability Under 29 U.S.C. §
1109 as a Result of His Failure to Disclose the
January 1999 Stock Purchase Transaction

Plaintiffs specifically contend that, had Mr. Scott promptly
disclosed the January 1999 stock purchase transaction, the
instant lawsuit would have been commenced earlier and Mr. Scott
would have had less time to divert MEC funds. Plaintiffs further

contend that MEC itself was the most valuable asset of the ESOP

 

N Section 1109(a) provides:

Any person who is a fiduciary with respect to a plan who
breaches any of the responsibilities, obligations, or duties
imposed upon fiduciaries by this subchapter shall be
personally liable to make good to such plan any losses to
the plan resulting from each such breach, and to restore to
such plan any profits of such fiduciary which have been made
through use of assets of the plan by the fiduciary, and
shall be subject to such other equitable or remedial relief
as the court may deem appropriate, including removal of such
fiduciary. A fiduciary may also be removed for a violation
of section 1111 of this title.

29 U.S.C. § 1109(a).

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and that by diverting company funds, Mr. Scott caused the
company, and correspondingly the ESOP, to lose value. Therefore,
Plaintiffs assert that they are entitled to restitution of all
funds Mr. Scott diverted from MEC beginning from and following
the January 1999 stock purchase transaction.

The Court agrees that Mr. Scott caused losses to the MEC
ESOP through his diversion of company funds following the January
1999 stock purchase transaction and therefore finds that
Plaintiffs are entitled to restitution.29 The Court must,
however, determine the specific date upon which such losses to
the MEC ESOP began to accrue. Under 29 U.S.C. § 1024(b)(3), Mr.
Scott was required to disclose the January 1999 stock purchase
transaction to each plan participant and each beneficiary
receiving benefits under the plan “within 210 days after the

close of the fiscal year of the plan.” 29 U.S.C. § 1024(b)(3).30

 

” The Court accordingly finds Mr. Scott's contentions that the
ESOP suffered no loss after the stock purchase transaction and that it
actually benefitted from the transaction unpersuasive.

w Section 1024(b){3) specifically provides:

Within 210 days after the close of the fiscal year of the
plan, the administrator shall furnish to each participant,
and to each beneficiary receiving benefits under the plan, a
copy of the statements and schedulesr for such fiscal year,
described in subparagraphs (A} and (B) of section 1023(b)(3)
of this title and such other material (including the
percentage determined under section 1023(d)(11) of this
title} as is necessary to fairly summarize the latest annual
report.

29 U.S.C. § 1024(b)(3).

28

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Because the fiscal year for the ESOP ended on August 31, 1999,
Mr. Scott was required to disclose the stock purchase transaction
by March 29, 2000. Thus, any diversions of company funds
occurring on or after March 29, 2000, constitute the losses to
the ESOP resulting from Mr. Scott's failure to disclose.

The Court has already awarded Plaintiffs damages in the
amount of $627,924.44 for Mr. Scott's wrongful conversion. This
award includes the loss incurred by the ESOP as a result of Mr.
Scott's failure to disclose the January 1999 stock purchase
transaction. Of the $627,924.44 damages award, the Court has
determined that $455,720.'7831 constitutes losses to the ESOP
resulting from Mr. Scott's failure to disclose. Pursuant to 29
U.S.C. § 1109, Mr. Scott is therefore personally liable to pay
$455,720.78 directly to the MEC ESOP.

2. Equitable or Remedial Relief Available to
Plaintiffs Pursuant to 29 U.S.C. § 1109 as a
Result of Mr. Scott's Failure to Disclose

Plaintiffs also argue that they are entitled to equitable or

remedial relief pursuant to 29 U.S.C. § 1109. In particular,

Plaintiffs request that the Court order Mr. Scott to forfeit his

 

m This amount is comprised of the following expenses incurred
either on or after March 29, 2000: (1) personal account balance of

amount owed to MEC; (2) personal credit card charges; (3)
reimbursements from petty cash; (4) MEC checks; (5) health insurance
coverage for Ms. Tara Scott; (6) automobile insurance coverage for

vehicle of Ms. Michelle Scott; and (7) attorney's fees paid during the
instant litigation.

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interest in the MEC ESOP32 and that the Court grant certain
injunctive relief. The Court will address these contentions in
turn.

a. Forfeiture of Mr. Scott's Interest in the MEC
ESOP

Mr. Scott testified at trial that he currently does not have
the ability to satisfy any judgment for liability with his
personal assets. (Tr. at 334-35.) Accordingly, Plaintiffs
contend that Mr. Scott should be required to forfeit his interest
in the MEC ESOP. Plaintiffs rely on Gaudet v. Sheet Metal
Workers' Nat’l Pension Fund, 216 F.Supp.2d 582 (E.D. La. 2002) to
support their contention. ln Gaudet, the district court held
that a union administered pension fund was not obligated to pay a
member of the union’s executive board funds to which he was
otherwise entitled, because any such duty was extinguished when
that member embezzled funds from the pension plan in an amount
that exceeded what he would have been owed under the plan. 216
F.Supp.2d at 590; see also Parker v. Bain, 68 F.3d 1131, 1141
(9th Cir. 1995) (stating district court properly concluded that
fiduciary's interest in pension plan extinguished when damages
owed to plan due to his embezzlement of plan funds exceeded
amount plan owed him). In addition, the district court in Gaudet

found that there was no offset to be made against the member of

 

n Alternatively, Plaintiffs request that the Court impose a
constructive trust upon Mr. Scott's MEC ESOP account.

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the executive board in favor of the pension fund because the
member already received funds that he would have otherwise been
owed under the plan. ld; Therefore, the district court
concluded that ERISA’s anti-alienation provision contained in 29
U.S.C. § 1056(d)”, as well as its corresponding exception
allowing a court to offset a plan participant’s benefitsr were
inapplicable34

The Court finds the reasoning of the district court in
Gaudet persuasive and applicable to the facts of the instant
case. Mr. Scott has already been found by the Court to have

caused losses to the MEC ESOP in the amount of $455,720.78 as a

 

H Section 1056(d)(1) states that “a pension plan shall provide
that benefits provided under the plan may not be assigned or
alienated.” 29 U.S.C. § 1056(d)(1).

M The relevant exception to § 1056(d)(1) provides, in pertinent
part:
Paragraph (1) shall not apply to any offset of a
participant's benefits provided under an employee pension
benefit plan against an amount that the participant is
ordered or required to pay to the plan if--

(A) the order or requirement to pay arisesF

(ii) under a civil judgment (including a consent
order or decree) entered by a court in an action
brought in connection with a violation (or
alleged violation) of part 4 of this subtitle
[section 1101 et seq. of this title], or

(B) the judgment, order, decree, or settlement
agreement expressly provides for the offset of all or
part of the amount ordered or required to be paid to
the plan against the participant's benefits provided
under the plan,

29 U.S.C. § 1056(d)(4).

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result of his failure to disclose the January 1999 stock purchase
transaction. This amount substantially exceeds what would have
been owed to Mr. Scott by the ESOP.35 Therefore, the ESOP’s
obligation to pay funds to Mr. Scott is extinguished and the
Court accordingly finds that Mr. Scott's interest in the MEC ESOP
is forfeited.36
b. Injunctive Relief
Plaintiffs also request that the Court enter an injunction

ordering Mr. Scott to do the following:

i. promptly deliver to Plaintiffs May and Thompson, as

directors of MEC, all books and records in Scott's

possession and/or control (together with all copies or

reproductions thereof) in which MEC has any interest

whatsoever, regardless of the form, media, or location

thereof;

ii. promptly deliver to Plaintiffs May and Thompson, as

directors of MEC[,l all other properties (regardless of
the location thereof) in which MEC has an interest,

 

H The Court's conclusion is further supported by a statement of
Mr. Scott’s recalculated interest in the MEC ESOP for the period
ending August 31, 2004. This statement was attached to the Affidavit
of Max May, in Support of Plaintiffs' Motion for Instructions, filed
on August 15, 2005. According to that statement, Mr. Scott's
recalculated interest in the MEC ESOP was $376,857.42. (Statement of
Mr. Lawrence Scott’s Interest in MEC ESOP, (attached to Aff. of Max
May in Supp. of Mot. for lnstructions, Aug. 15, 2005, Docket No.
341).)

% Because the Court has determined that the MEC ESOP no longer
has an obligation to pay funds to Mr. Scott, it also finds that
ERISA's anti~alienation provision and its corresponding exception
allowing courts to offset a participant's benefits are not applicable
in the instant case.

In addition, having concluded that Mr. Scott’s interest in the
MEC ESOP is forfeited, the Court need not evaluate Plaintiffs' request
for a constructive trust.

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directly or indirectly, that are in Scott's possession
and/or control, including, without limitation, all
benefits under frequent flyer or other awards programs
and the company van;

iii. promptly deliver to Plaintiffs May and Thompson,
as MEC ESOP administrative committee members, all books
and records in Scott's possession and/or control
(together with all copies or reproductions thereof) in
which MEC ESOP has any interest whatsoever regardless
of the form, media or location thereof;

iv. promptly deliver to Plaintiffs May and Thompson, as
MEC ESOP administrative committee members, all other
properties (regardless of the location thereof) in
which MEC ESOP has an interest, directly or indirectly,
that are in Scott’s possession and/or control;

v. protect the confidentiality of all information
pertaining to MEC and to the MEC ESOP;

vi. refrain from disclosing, directly or indirectly, to
any person any information pertaining to MEC, including
without limitation, information relating to MEC’s
prices, products, customers and suppliers; and
vii. prohibiting Scott from benefitting in any way,
financially or otherwise, from this litigation which he
necessitated, including from Plaintiffs' settlement
with NBC or from the relief awarded by the Court.
(Pls.' Post-Trial Mem., Nov. 12, 2004, (Docket No. 319), at 21-
22.} The Court finds that Plaintiffs are entitled to the
requested injunctive relief subject to the following exceptions.
First, the Court cannot, at this time, enter an injunction
requiring Mr. Scott to protect the confidentiality of all
information pertaining to MEC and the MEC ESOP and to refrain

from disclosing information related to MEC, because there is no

claim presently before the Court based on the disclosure of

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confidential information or trade secrets." ln addition,
Plaintiffs' request for an injunction prohibiting Mr. Scott from
benefitting in any way from the instant litigation is not a
specific remedy which the Court could enforce. Therefore,
subject to the above exceptions, the Court grants Plaintiffs’
requested injunctive relief.

C. Attorney's Fees

Plaintiffs contend that they are entitled to an award of
reasonable attorney's fees and expenses under either Tennessee
law and/or ERISA. The Court will first address whether Tennessee
law provides a basis to award Plaintiffs attorney's fees and
costs before addressing whether such fees and costs can be
awarded pursuant to ERISA.

The Tennessee Court of Appeals addressed the issue of
whether a Plaintiff can recover attorney's fees based on a
court's finding of conversion in Carmical v. Kilpatrick, No.
M2002-00346-COA-R3-CV, 2002 WL 31863293 (Tenn. Ct. App. Dec. 23,
2002). In Carmical, the Tennessee Court of Appeals specifically
noted:

Tennessee courts have long rejected attempts to include
attorney’s fees as a part of damages, “concluding that
an award of attorney's fees as part of the prevailing
party’s damages is contrary to public policy.” thn

Kohl & Co. P.C., v. Dearborn & Ewing, 977 S.W.2d 528,
534 (Tenn.1998). ln John Kohl & Co. the Supreme Court

 

37 Plaintiffs are not precluded from bringing a future claim based
on any such disclosure of confidential information or trade secrets.

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stated it was not persuaded that legal malpractice
claims should be made an exception to the rule against
awarding attorney's fees in the absence of an agreement
or statute and held that attorney's fees in legal
malpractice suits, “as in other litigation," may not be
awarded. Id. No exception has been made for attorney's
fees in conversion cases, either, and we find no basis
for creating one.

Id. Accordingly, under Tennessee law, Plaintiffs cannot recover
attorney's fees based on this Court's finding of conversion.

A court may, however, in its discretion, “allow a reasonable
attorney's fee and costs of action to either party” in an ERISA
action brought by a participant, beneficiary, or fiduciary. 29
U.S.C. § 1132g(1). The United States Court of Appeals for the
Sixth Circuit “hasrejected a presumption that attorney's fees
should ordinarily be awarded to the prevailing plaintiff” in
ERISA cases. First Trust Corp. v. Brvant, 410 F.3d 842, 851 (6th
Cir. 2005) {citing Foltice v. Guardsman Prods., Inc., 98 F.3d
933, 936 (6th Cir. 1996)). The Sixth Circuit Court of Appeals
has identified five factors to be considered in determining
whether an award of attorney's fees is proper under ERISA:

(1) the degree of the opposing party's culpability or
bad faith; (2) the opposing party’s ability to satisfy
an award of attorney's fees; (3) the deterrent effect
of an award on other persons under similar
circumstances; (4) whether the party requesting fees
sought to confer a common benefit on all participants
and beneficiaries of an ERISA plan or resolve

significant legal questions regarding ERISA; and (5)
the relative merits of the parties' positions.

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ld; The above factors are not statutory and accordingly are not
dispositive. ld; Instead, “they are simply considerations
representing a flexible approach.” ;d$

Applying these factors to the instant case, the Court finds
that Mr. Scott engaged in culpable conduct and exhibited bad
faith by his orchestration of the January 1999 stock purchase
transaction, repeated conversion of MEC funds, and failure to
disclose the stock purchase transaction to the MEC ESOP
participants. Because Mr. Scott testified at trial that he would
be unable to satisfy a judgment of liability from the Court out
of his personal assets, it is likely that he would be unable to
satisfy any award of attorney's fees. The Court finds, however,
that awarding attorney's fees would have a deterrent effect on
other persons contemplating a course of conduct similar to that
taken by Mr. Scott in the instant case. Moreover, in the instant
case, Plaintiffs brought suit under ERISA to provide a common
benefit on all participants and beneficiaries of the MEC ESOP.
Finally, the Court notes that Plaintiffs' claim concerning Mr.
Scott's liability for failure to disclose under ERISA was
meritorious. Accordingly, after considering the above factors in
light of the proof presented during trial, as well as the entire
record in this case, the Court finds that Plaintiffs are entitled

to an award of attorney's fees under 29 U.S.C. § 1132(g)(l).

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Plaintiffs should submit any application for attorney's fees
within thirty (30) days from the date of entry of this opinion.38
IV. CONCLUSION

For the foregoing reasons, the Court finds that Mr. Scott is
liable for the wrongful conversion of MEC funds and therefore
enters judgment in favor of Plaintiffs in the amount of
$172,203.66 on that claim. In addition, the Court finds that as
a result of Mr. Scott's liability under 29 U.S.C. §§ 1024(b)(3),
1104, and 1109, Plaintiffs are entitled to restitution in the
amount of $455,720.78, to be paid directly to the MEC ESOP, and
therefore enters judgment in favor of Plaintiffs on those

claims.39 ln addition, due to Mr. Scott's liability under 29

 

w Plaintiffs also requested that the Court assess $1,193.57, one-
half of the transcript costs in this caser as part of the judgment
against Mr. Scott. The Court notes, however, that Plaintiffs’ request
concerns a post-judgment issue that may be properly presented in a
subsequent request for costs.

D Also before the Court is Mr. Scott's Objections to the
Magistrate Judge's Report and Recommendation to Deny Scott’s Motion to
be Paid his Compensation and for an Expedited Hearing Thereonr filed
on September 29, 2004. On September 20, 2004, the magistrate judge
held a motion hearing and issued an oral ruling from the bench denying
Mr. Scott's motion. The magistrate judge's ruling was based On the
following factors: (1) Mr. Scott borrowed or took in excess of
865,000.00 for personal use; (2) Mr. Scott still owes in excess of
$65,000.00; (3) Mr. Scott stated on many occasions that he intended to
pay back his debt through his year-end compensation; and (4) Mr. Scott
has no other means to pay this debt other than his year-end
compensation.

After de novo review, the Court hereby ADOPTS the Magistrate
Judge's Report and Recommendation. The Court further finds that while
Mr. Scott is entitled to compensation as determined in the Report and
Recommendation, that compensation is an offset to be applied against
the $172,203.66 judgment entered against him in this case. lt is
specifically noted that the $172,203.66 judgment substantially exceeds
the amount of compensation otherwise due to Mr. Scott.

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U.S.C. §§ 1024(b)(3), 1104, and 1109, Plaintiffs are entitled to
a forfeiture of Mr. Scott's interest in the MEC ESOP and
injunctive relief. The Court therefore enters judgment in favor
of Plaintiffs on those claims. Finally, the Court finds that
Plaintiffs are entitled to attorney's fees pursuant to 29 U.S.C.

§ 1132(g)(1) and enters judgment in favor of Plaintiffs on that

claim.

So ORDERED this \j?} day of August 2005.

wm ill

P. MCCALLA
OI'l"ED STA'I'ES DISTRIC'I' JUDGE

 

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This notice confirms a copy of the document docketed as number 342 in
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US DISTRICT COURT

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